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                                              U.S. Department of Justice
[Type text]
                                                 United States Attorney
                                                 Southern District of New York

                                                 The Silvio J. Mollo Building
                                                 One Saint Andrew’s Plaza
                                                 New York, New York 10007


                                                 December 20, 2024

By ECF
Hon. Gregory H. Woods
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. S. Kenneth Leech II, 24 Cr. 658 (GHW)

Dear Judge Woods:

       The Government respectfully writes to propose the attached protective order to govern
discovery produced in this case. The parties have conferred and have agreed on the attached
proposed order for the Court’s consideration. Thank you very much.

                                          Respectfully submitted,

                                          EDWARD Y. KIM
                                          Acting United States Attorney

                                      by: __/s/ ___________________
                                          Thomas Burnett
                                          Peter Davis
                                          Assistant United States Attorneys
Attachment: (Proposed Order)
